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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                           CASE NO. 19-mc-23851-EGT


   IN THE MATTER OF
   THE EXTRADITION OF
   ROBERTO GUILLERMO BRAVO
   _________________________________/


                MOTION FOR BAIL PENDING EXTRADITION HEARING

                                       I.
                                  INTRODUCTION

         On October 25, 2019, Roberto Bravo (“Mr. Bravo”)was arrested on a

   Complaint for Extradition to Argentina which had been filed under seal on

   September 16, 2019.1

         This is the second time the government of Argentina has sought the

   extradition of Mr. Bravo. More than nine (9) years earlier, on February 25, 2010,

   Mr. Bravo was arrested on a similar Complaint.2 Both extradition attempts relate

   to an incident that occurred forty-seven (47) years ago, and which we

   demonstrated in Bravo I were false and inaccurate.




   1
     The extradition request had actually been in the works for some time. The
   Embassy of Argentina initially submitted a Diplomatic Note which was certified
   by the United States Embassy on September 15, 2014. Thereafter, supplemental
   documents were submitted and certified on May 7, 2018. See Declaration of
   Katherine C. Fennell, Attorney-Advisor for the Department of State, EX-Bravo-
   0001-0003.
   2
    See United States v. Bravo, Case No. 10-20559 MC/DUBÉ. To avoid confusion,
   we shall refer to this case as “Bravo I.”
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          In Bravo I, after a hearing on our Motion For Bail Pending Extradition Hearing,

   United States Magistrate Judge Robert L. Dube granted bail. Mr. Bravo was

   released on a $1,000,000 Personal Surety Bond, co-signed by Ana Bravo (his Wife),

   Pablo Bravo (his Son), and Martin Galarce (his Nephew) and a separate $250,000

   bond with 10% deposited in the registry of the Court.3

          Throughout the pendency of that case, Mr. Bravo remained at liberty and

   fully honored all the conditions of his bond. After a full hearing and briefing by

   both parties, Judge Dube issued a thorough, strong, and erudite Order Denying

   Certification Of Extradition.4 He found that evidence we had presented “obliterated”

   probably cause:

          This Court concludes that the evidence of the full military
          investigation and acquittal, Presidential Decree No. 425, and the
          evidence and testimony regarding the application of Amnesty Law
          20.508 are all relevant and admissible on the issue of probable cause.
          Furthermore, the Court finds that the relevant evidence does
          obliterate the showing of probable cause in this case. Therefore, based
          on that finding, the Government of Argentina has failed to carry its
          burden of showing probable cause to justify extradition.

   See Order Denying Certification Of Extradition, Bravo I, DE 62, p. 17.

          Although the Court found that the Government failed to establish probable

   cause for extradition, it nevertheless decided to address the "political offense"

   exception. After a careful analysis of the evidence, Magistrate Judge Dube




   3
       See Bravo I, DE 14 and DE 15.
   4
       See Bravo I, DE 62.

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   concluded:

         Based on the documents and the expert testimonies, this Court finds
         that Bravo satisfied his burden of showing that the charges against
         him constituted a political offense.

   See Bravo I, DE 62, p. 20. Judge Dube also determined that the Government had

   not refuted or contradicted our evidence and thus failed to satisfy their shifting

   burden of proof.

         This motion will set forth the law relating to bail in extradition cases, Mr.

   Bravo’s personal history, the facts of this case from the defense perspective, and

   the “special circumstances” which justify his release on bail, including the fact that

   he was exonerated and acquitted of these charges by a full military investigation

   in 1973, that he is protected from prosecution by an Amnesty law which has never

   been repealed or vacated, that the charges are political in nature and thus not

   extraditable, and other factors which courts have considered to be “special

   circumstances” justifying bail.

                                  II.
            THE LEGAL STANDARD FOR BAIL IN EXTRADITION CASES

         The Supreme Court in Wright v. Henkel, 190 U.S. 40, 63, 23 S.Ct. 781 (1903)

   established that, while there is a presumption against bail in extradition cases,

   district courts may release relators when “special circumstances” are present.

   Thus, courts have granted bail pending extradition proceedings if the defendant

   demonstrates: that he is not a flight risk. United States v. Leitner, 784 F.2d 159 (2d.

   Cir. 1986); In the Matter of the Extradition of Gonzalez, 52 F.Supp.2d 725, 735 (W.D.

                                             3
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   La. 1999); that he is not a danger to the community; and that there are “special

   circumstances” warranting his bail pending an extradition hearing. Wright v.

   Henkel, supra.5

         The determination of what constitutes “special circumstances” is left to the

   sound discretion of the trial judge. Beaulieu v. Hartigan, 554 F.2d 1 (1st Cir. 1977).

   However, courts can focus on whether a defendant’s circumstances collectively

   establish special circumstances. United States v Molnar, 182 F.Supp. 2d 684 (N.D.




   5
       Courts have found ‘special circumstances’ in the following situations: The
   deteriorating health of the petitioner. United States v. Huerta, Slip Copy 2008 WL
   2557514 (S.D. Tex. 2008) (deteriorating heart condition); where petitioner faced
   prospect of losing “all his fortune” if not permitted to complete his participation
   in a civil proceeding underway at the time of his arrest. In Re Mitchell, 171 F.289
   (S.D.N.Y. 1909); the substantial likelihood of success on the merits. United States
   v. Nacif-Borge, 829 F.Supp. 1210 (D. Nev. 1993) (availability of bail likely under
   law of requesting nation); United States v. Ramnath, 533 F.Supp.2d 662 (E.D. Tex.
   2008) (Court found that the crime for which extradition was requested probably
   did not constitute a crime under law of the requesting Nation); In the Matter of the
   Extradition of Gonzalez, 52 F.Supp.2d 725 (W.D. La. 1999) (government failed to
   establish the reliability of eyewitness identifications inculpating the
   detainees);United States v Santos, 473 F.Supp.2d 1030 (C.D. Cal. 2006)(“not only
   did a Mexican court invalidate the first arrest warrant, but the second warrant,
   which was obtained after Mexican prosecutors had notice of deficiencies in the
   first warrant, also was invalidated.”); United States v. Bogey, 147 F.Supp.2d 1365
   (N.D. Ga. 2001)( Court found that the criminal case against [Defendant] in France
   may have “little prosecutorial merit, despite the technical merit the criminal
   charges may have.”); inability to practice religious rituals as an Orthodox Jew.
   United States v. Taitz, 130 F.R.D. 442 (S.D. Cal. 1990); lengthy delay in the
   proceedings. Taitz, 130 F.R.D. 442; Santos, 473 F.Supp. 2d 1030; the issuance of
   a foreign arrest warrant without a finding of probable cause consistent with the
   Fourth Amendment. Paretti v. United States, 122 F.3d 758 (9th Cir. 1997)( Court
   granted bail even if the even if defendant failed to make a showing a “special
   circumstances” to the satisfaction of the district court because the foreign warrant
   violated the defendants’ due process rights).

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   Ill. 2002). (Court was “compelled to view his ‘circumstances’ collectively rather

   than singularly”)

         Courts have held that a special circumstance arises when – as we maintain

   is the case here – an extraditee is charged with “political offense” as defined by the

   applicable extradition treaty. In Re La Salvia, – F.Supp. — 1986 WL 1436 (S.D.N.Y.

   1986), quoting In Re Castioni, [1891] 1 Q.B. 149, 156 (1890). There are two types

   of political offenses: pure and relative. Marzook v. Christopher, —F.Supp. 1996 WL

   583378 (S.D.N.Y. 1996).“ (‘Pure’ political offense are crimes directed at the state

   that lack the elements of ordinary crimes; they include such crimes as treason,

   sedition, and espionage).

         The test for finding a ‘relative’ political offense is two-fold: (1) there must be

   “a political matter, a political rising, or a dispute between two parties in the State,

   as to which is to have the government in its hands ” and (2) the act for which

   extradition is requested must be “incident to” or “in furtherance of assisting a

   political rising” such as war, revolution, and rebellion. La Salvia, – F.Supp. —

   1986 WL 1436 at p.2, citing Sidona v. Grant, 619 F.2d 167, 173 (2d. Cir. 1980); see

   also Barapind v. Enomoto, 400 F.3d 744, 753 (9th Cir. 2005), quoting Ornelas v.

   Ruiz, 161 US 502 (1896) (Arguing that courts should define whether something is

   “political” by focusing on “the character of the foray, the mode of attack, the

   persons killed or captured, and the kind of property taken or destroyed”).

         To establish the political offense exception, the extraditee must establish “a


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   rational nexus between the alleged crimes and the prevailing turmoil.”Extradition

   of Artukovic, 628 F.Supp. 1370, 1376 (C.D. Cal. 1986). “The focus of the inquiry is

   on the circumstances, and on the status of those harmed, and not on whether the

   acts merely were committed during the disorder.” Artukovic, 628 F.Supp at 1376.6

                                               III
                                       FACTUAL STATEMENT

   A.      Mr. Bravo’s Personal History

          We shall discuss the allegations against Mr. Bravo below, but we first want

   to inform the Court about Roberto Bravo, the upstanding and respected citizen of

   this community.

          Roberto Bravo was born and raised in Argentina, where he attended college

   and the Argentinian Naval Academy. He was commissioned a Lieutenant and was

   serving in that capacity when the uprising at Trelew, which is the subject of the

   extradition request, took place.

          In 1973, still in the service of the Argentine military, Mr. Bravo came to the


   6
     See also In re McMullen, No.3-78-1099 MG (N.D. Cal. May 11, 1979)(Court denied
   UK’s extradition request for former PIRA member accused of bombing a military
   barracks reasoning that defendants acts took place during a state of uprising
   throughout the UK and were incidental to the political disturbance; see also
   McMullen v. INS, 658 F.2d 1312 (9th Cir. 1981) (finding that McMullen’s life would
   be threatened if he were returned to UK) ; Quinn, 783 F.2d at 810 (“It is clear that various
   “non-military” offenses, including acts as disparate as stealing food to sustain the combatants, killing
   to avoid disclosure of strategies, or killing simply to avoid capture, may be incidental to or in
   furtherance of an uprising.”) But compare Eain v. Wilkes, 641 F.2d 504, 520 (7th Cir.
   1981) (US granted Israel’s extradition request for PLO member accused of
   bombing and maiming 30 Israeli civilians because isolated acts of violence do not
   satisfy the political offense exception “absent a direct link between the perpetrator,
   an organization’s political goals, and a specific act.”)

                                                      6
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   United States, where he was attached to the Argentine Embassy and also trained

   with the United States Military, completing courses in Army Advanced Infantry

   Training, Airborne, Pathfinder, as well as an Amphibious Reconnaissance course

   with the United States Marine Corps.

         In late 1979, Mr. Bravo retired from the Argentine military. He received a

   permanent employment offer from a U.S. electronics company and received his

   permanent residence status on March 24, 1980. Mr. Bravo became a naturalized

   United States Citizen on September 1, 1987.

         Roberto Bravo has been married to his wife, Ana Maria Bravo, for 52 years,

   and they have three sons, all of whom served in the United States Army or Navy:

   Fernando G. Bravo, age 50 (who holds a Masters degree in Business

   Administration); Pablo A. Bravo, age 49 (who holds a B.S. in Information

   Technology); and Andres E. Bravo, age 48 (who holds B.A. degree in Business). Mr.

   Bravo also has two nephews in the Miami area, Martin Galarce (who holds a

   Masters degree in sociology and in political science) and Ignacio Bravo, who has

   a B.A. in international business.

         Mr. Bravo and his family moved to Miami in 1982. He owns his own home,

   and each of his family members mentioned above own property which they will

   gladly pledge as collateral for his bond.7




   7
    We have not detailed that information in this Motion to avoid running afoul of
   ECF redaction rules.

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         Since 1979, Mr. Bravo has performed in several managerial positions in the

   Consumer Electronics and Industrial Electronics fields, gaining a solid background

   of practical experience in sales, distribution, design, programming, purchasing,

   and marketing. He has also worked as a business consultant in the import-export

   business.

         Since he moved to Miami, Mr. Bravo has been active in business and in the

   community. He created and served as President of his own company, RGB Group,

   Inc., and has also served as President and CEO of RLM Services, Inc, President and

   CEO of One Fountainhead Center, LLC., Managing Member of Miami Alliance, Inc,

   and President and CEO of Stafford Bookbinding, Inc.

   B.    The Argentina Charges

         We acknowledge the charges brought against Mr. Bravo in Argentina and the

   first extradition request made by Argentina in 2010. However, those charges were

   soundly rejected by Magistrate Judge Dube in his   8



         The government’s new request – an effort to overcome the 2010 outcome –

   is insufficient to change the result. While we want to concentrate on our request

   for bail in this Motion, the operative facts were discussed in several pleadings in

   Bravo I.9




   8
     See Order Denying Certification Of Extradition, Bravo I, DE 62, filed on
   November 2, 2010.
   9
     See, e.g., DE 57_Post-Hearing Memorandum In Opposition To Extradition, 09-
   29-2010; DE 62_Order Denying Certification Of Extradition, 11-02-2010.

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                                    IV
           MR. BRAVO SHOULD BE GRANTED BAIL PENDING EXTRADITION

           Because Mr. Bravo is not a flight risk or a danger to the community, and can

   demonstrate multiple “special circumstance,” he should be granted bail in this

   case.

   A.      Mr. Bravo is not a flight risk

           As we noted above, Mr Bravo had been aware of these charges since they

   were filed in Argentina in 2008. He publicly vowed to fight them,10 and he remained

   in Miami, living openly and taking no actions that would indicate he was a risk of

   flight, despite his knowledge that he would likely be held to answer these

   extradition charges. Mr. Bravo has extensive family and business ties to South

   Florida, has been a respected business man, and has been active in the

   community.

           Even after he prevailed in Bravo I, he took no action to flee the jurisdiction,

   hide his whereabouts, or disguise himself or his family in any way.11

           In determining whether a potential extraditee seeking release on bail will

   intentionally fail to appear for further extradition proceedings, courts generally look

   10
      See, e.g., “Argentina Seeks Ex-Navy Officer in USA” Associated Press, March 7,
   2008 (“a lawyer for Roberto Guillermo Bravo, 65, said Thursday his client denies
   the massacre charges and will fight extradition. ‘Anything that he did while he was
   in the Argentinean military was done in a legal manner, and he was not involved
   in any execution-style killings," said attorney Neal Sonnett.”).
   http://seattletimes.nwsource.com/html/nationworld/2004265249_apargentin
   edirtywar.html (last accessed February 28, 2010).
   11
    Mr. Bravo did purchase a new home in the intervening years, about a mile from
   where he had previously lived.

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   to 18 U.S.C. § 3142(g), which prescribes the factors to be considered "in

   determining whether there are conditions of release that will reasonably assure the

   appearance of the person as required and the safety of any other person and the

   community...." See In the Matter of the Extradition of Jose Luis Munoz Santos, 473

   F.Supp.2d 1030, 1040-1041 (C.D. Cal 2006); In re Extradition of Campillo Valles,

   36 F.Supp.2d 1228, 1231 (S.D.Cal.1998)(considering "the standards governing the

   release or detention of a defendant in the United States" in determining the risk of

   non-appearance); In re Extradition of Nacif-Borge, 829 F.Supp. 1210, 1221-22

   (D.Nev.1993) (noting that 18 U.S.C. § 3142(g) is not directly applicable to

   extradition cases but using its "detailed outline of traditional factors" in evaluating

   the risk of non-appearance in an extradition case).

        First, Mr. Bravo poses absolutely no flight risk. United States v. Messina, 566

  F. Supp. 740, 742 (D.C.N.Y. 1983), (citing Digest of the States Practice in

  International Law 157) (“it is the practice of United States Courts to allow persons

  provisionally arrested to remain at large on bond if there is no evidence that the

  person is about to flee.”); United States v. Taitz, 130 F.R.D. 442, 446 (S.D. Cal. 1990)

  (“The State Department has recognized that in general, the practice of the district

  courts is to release persons provisionally arrested and facing extradition on bail in

  the absence of risk of flight.”); In the Matter of Kirby, 106 F.3d 855 (9th Cir. 1997)

  (finding that defendants pose no risk of flight because “[a]ll three men have strong

  ties of family and friendship in [community]”); See also United States v. Nacif-Borge,

  829 F.Supp. 1210 (D. Nev. 1993).

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  B.    Mr. Bravo is not a danger to the community

        There is absolutely no evidence that Mr. Bravo is a danger to the community.

  The charges against him date back to 1972, and he first came to the United States

  within months of being acquitted of any wrongdoing. In the almost 50 years he has

  been in this country, he has been a law abiding, contributing member of society,

  and an outstanding citizen since he was naturalized in 1987. See Nacif-Borge, 829

  F.Supp. at 1215-1216. Mr. Bravo has no criminal history, no criminal record, and

  nothing indicates that he has ever been involved in any criminal legal proceedings

  in the United States. In Re Extradition of Campillo Valles, 36 F.Supp. 2d 1228, 1231

  (S.D. Cal. 1998)(In deciding whether to grant a motion to bail “court may consider

  evidence concerning an extraditee’s past conduct, including any prior criminal

  convictions and association with known criminals and/or evidence of attempts to

  avoid arrest.”)

        Far from posing a danger to the community, Mr. Bravo is revered in the

  community and has positively affected the community with his entrepreneurial

  ventures. Campillo Valles, 36 F.Supp. 2d at 1231 (In deciding whether to grant a

  motion to bail “court may also consider ties to the community and possibility of

  posting security for an appropriate bond.”) Mr. Bravo’s accomplishments range from

  seeking to help foreign enterprises conduct business in America and attempting to

  restore a book-binding shop to its original condition, to helping place individuals

  in private sectors ranging from the health industry to the securities industry. Mr

  Bravo is not a danger to anyone in the community.

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  C.    There are Special Circumstances in this Case that Justify Bail

        Mr. Bravo can demonstrate clear and convincing evidence of “special

  circumstances” warranting his bail pending an extradition hearing.

        1.     The Denial of the First Extradition Request in 2010
               Presents Special Circumstances Which Justify a Bond.

        The denial of the 2010 extradition request from Argentina presents special

  circumstances which not only justify release on bond, but also should be

  considered by this Honorable Court in analyzing the strength of the government’s

  case for extradition.

        Either before or after Magistrate Judge Dube denied certification of

  extradition on November 2, 2011, the governments of Argentina and the United

  States took absolutely no action to try to reopen and supplement or correct the

  record or buttress their arguments for extradition, nor was there any attempt to

  appeal the Magistrate Judge’s decision to the United States District Court, and no

  attempt to provide additional documents or testimony to support the extradition of

  Mr. Bravo.

         It should be noted that the Argentina Judge, Hugo Sastre, was well aware of

  the status of the hearing in Miami, and was obviously in contact with the AUSA. For

  example, in one attempt to bolster its case, (evidently at the request of the AUSA),

  Judge Sastre wrote a letter, dated March 2010, that attempted to respond to several

  arguments we had made. While the contents of the letter were rejected by




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  Magistrate Judge Dube12 it is clear that the Argentina courts were paying close

  attention, yet did nothing to try to rescue a failing extradition request.

          Clearly, these are “special circumstances” which favor bond in this case.

  Moreover, those same circumstances should be taken into consideration by this

  Honorable Court in determining whether extradition should be granted.

          2.    The Military “Acquittal” Presents an Issue of Double
                Jeopardy Which Could Bar Extradition

          The prior formal military investigation clearing Mr. Bravo of the alleged

  offenses for which Argentina now seeks his extradition demonstrates Mr. Bravo’s

  “special circumstances.” The court in United States v. Zarate, 492 F.Supp. 2d 514

  (D. Md. 2007) addressed a very similar issue: whether bail is available to a

  defendant pending an extradition hearing when documentary evidence purports to

  establish that the requesting nation (Mexico) had officially exonerated the defendant

  of the crime underlying the charges?

          The court held that special circumstances warranted defendant’s bail pending

  an extradition hearing reasoning that “[c]onfinement for a crime of which the

  defendant had been acquitted would work a “manifest substantial injustice.” Zarate,

  492 F. Supp. 2d at 515. While the “acquittal” in this case may be different in form,

  Zarate’s holding weighs heavily in favor of finding special circumstances here, and

  the fact that the Magistrate Judge in Bravo I gave great weight to this issue makes




   12
        See DE 62_Order Denying Certification Of Extradition, p. 16.

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        3.     Mr. Bravo is Protected from Extradition by an Amnesty
               Law Which has Never Been Abrogated, a Special
               Circumstance

        On May 27, 1973, soon after Mr. Bravo was exonerated by the military

  decision, Argentina passed Amnesty Law 20.508 which applied to events prior to

  May 25, 1973, including the events at Trelew. We had been advised that Amnesty

  Law 20.508 had never been repealed, abrogated, or found to be unconstitutional13.

        4      The Political Offense Exception Constitutes a “Special
               Circumstance”

         The Extradition Treaty between the United States and Argentina specifically

  carves out a provision in Article 4, Section 1 exempting any individual “if the offense

  for which extradition is requested is a political offense.”

        Magistrate Judge Dube found that the political offense exception applied to

  Mr. Bravo and his extradition was therefore barred by Article 4 of the Treaty. That

  finding should be considered a “special circumstance” which supports release on

  bail in this case.

  C.    THE BAIL PACKAGE WE PROPOSE IS MORE THAN ADEQUATE TO
        JUSTIFY MR. BRAVO’S RELEASE ON BOND.

        We propose a bail package far more extensive than that upon which Mr.

  Bravo was released in 2010.

  1.    A Personal Surety Bond in the amount of Four Million Dollars, ($4,000,000)

  signed by Mr. Bravo’s wife, three Sons, a Nephews, and two friends, all of whom are



   13
     Magistrate Judge Dube discussed this issue in his Order in Bravo I. See DE
   62 at p.16.

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  prepared to pledge their equity in their residences in support of a bond for Mr.

  Bravo

          The signatories have the following equity in real property which they will

  pledge:14

          Roberto Bravo and Ana Bravo Miami, FL                    $ 1,600,000

          Fernando Bravo (Son)           Cooper City, FL           $ 527,000

          Pablo Bravo (Son)              Tallahassee, FL           $ 297,000

          Andres Bravo (Son) -           Frederick, CO             $ 503,000

          Martin Galarce (Nephew)        Coconut Grove, FL         $ 1,000,000

          Armando Valladares (Friend) Miami, FL                    $ 400,000

          Maria Werlau (Friend)          North Miami, FL           $ 142,000

          TOTAL VALUE OF PROPERTIES PLEDGED:                        $ 4,327,000

  2.      A separate Appearance Bond in the amount of $1,000,000, with 10% of the

  face amount deposited in the Registry of the Court.

  3.      Any other non-monetary conditions which the Court wishes to impose,

  including electronic monitoring, house arrest, or similar conditions.

                                          IV
                                      CONCLUSION

          It is abundantly clear that Mr. Bravo deserves to be released on bail, and the

  generous bail package we have proposed will more than guarantee that he will abide


   14
      We have not included specific addresses or other personal information which
   might be subject to redaction rules, but we will provide the court with that
   information at the bail hearing.

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  by the conditions of his release. We therefore respectfully request that this

  Honorable Court grant him bail.

         WHEREFORE, Mr. Bravo respectfully requests this Court to grant him bail

  pending an extradition hearing.

                                              Respectfully submitted,

                                              NEAL R. SONNETT, P.A.
                                              Attorneys for Roberto Guillermo Bravo
                                              Two South Biscayne Boulevard, Suite 2600
                                              Miami, Florida 33131-1804
                                              Telephone:     305-358-2000
                                              Fax:           305-358-1233
                                              Email:         nrs@sonnett.com


                                              By s/ Neal R. Sonnett
                                               NEAL R. SONNETT
                                               Florida Bar No. 105986




                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 1, 2019, I electronically filed the foregoing document with

  the Clerk of the Court and all counsel of record using CM/ECF.



                                              By: s/ Neal R. Sonnett
                                               NEAL R. SONNETT




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